8:13-cr-00107-JFB-RCC        Doc # 172   Filed: 01/02/14   Page 1 of 1 - Page ID # 1167




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                8:13CR107
                     Plaintiff,              )
                                             )
      vs.                                    )                 ORDER
                                             )
GARY S. REIBERT,                             )
                                             )
                     Defendant.              )


      This matter is before the Court on the motion of defendant Gary S. Reibert (Reibert)
for an extension of the pretrial motion deadline (Filing No. 171). The motion does not
comply with NECrimR 12.1 (a) and paragraph 9 of the Progression Order in that the motion
is not accompanied by the defendant’s affidavit or declaration stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking a continuance;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 171) is :
             (X)     Held in abeyance pending compliance with NECrimR 12.1(a) and
                     Paragraph 9 of the Progression Order. Absent compliance on or
                     before January 13, 2014, the motion will be deemed withdrawn and
                     termed on the docket.
             (   )   Denied.


      IT IS SO ORDERED.


      DATED this 2nd day of January, 2014.
                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
